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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 12-cv-01197-BNB

JAMIL ABDULLAH AL-AMIN,

       Petitioner,

v.

BLAKE DAVIS, Warden, ADX Florence,
SAMUEL S. OLENS, Attorney General of the State of Georgia, and
BRIAN OWENS, Commissioner of the Georgia Department of Corrections,

       Respondents.


                            ORDER TRANSFERRING CASE


       This matter is before the Court on the Petition for Writ of Habeas Corpus (ECF

No. 1) filed by Petitioner. Petitioner, who is represented by counsel, presently is

incarcerated at the United States Penitentiary, Administrative Maximum, in Florence,

Colorado. Petitioner “is serving a life sentence without the possibility of parole, following

his conviction for murder and other crimes by a jury impaneled by the Fulton County

Superior Court of the State of Georgia.” (ECF No. 1 at 1.) Petitioner is serving his

Georgia sentence in a federal prison in Colorado pursuant to a contractual agreement

between the Georgia Department of Corrections and the Federal Bureau of Prisons.

(See ECF No. 1 at 4.) Petitioner claims in this action that his rights under the United

States Constitution have been violated and he seeks a new trial as relief. For the

reasons stated below, this action will be transferred to the United States District Court

for the Northern District of Georgia, Atlanta Division.
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       Pursuant to 28 U.S.C. § 2241(a), a writ of habeas corpus may be granted by “the

district courts and any circuit judge within their respective jurisdictions.” The United

States Supreme Court has interpreted this provision as requiring jurisdiction over the

applicant’s custodian “even if the prisoner himself is confined outside the court’s

territorial jurisdiction.” See Braden v. 30th Judicial Circuit Court of Ky., 410 U.S. 484,

495 (1973). The Supreme Court reached this conclusion because “[t]he writ of habeas

corpus does not act upon the prisoner who seeks relief, but upon the person who holds

him in what is alleged to be unlawful custody.” Id. at 494-95.

       The proper respondent in a habeas corpus action is “the person who has custody

over [the petitioner].” 28 U.S.C. § 2242; see also 28 U.S.C. § 2243 (“The writ, or order

to show cause shall be directed to the person having custody of the person detained.”).

In most cases, there is “only one proper respondent to a given prisoner’s habeas

petition,” and the proper respondent generally is “the warden of facility where the

prisoner is being held.” Rumsfeld v. Padilla, 542 U.S. 426, 434-35 (2004). However,

“the immediate physical custodian rule, by its terms, does not apply when a habeas

petitioner challenges something other than his present physical confinement.” Id. at

438. Instead, a habeas applicant “who challenges a form of ‘custody’ other than

present physical confinement may name as respondent the entity or person who

exercises legal control with respect to the challenged ‘custody.’” Id. For example, the

prisoner in Braden was serving a sentence in an Alabama prison pursuant to an

Alabama conviction but he was challenging a detainer lodged against him in Kentucky

state court. See Braden, 410 U.S. at 486-87. The Supreme Court held in Braden that

the Kentucky court, rather than the Alabama warden, was the proper respondent

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because the Alabama warden was not “the person who [held] him in what [was] alleged

to be unlawful custody.” Id. at 494-95. The Supreme Court’s conclusion was supported

in part by traditional venue considerations because “[i]t is in Kentucky, where all of the

material events took place, that the records and witnesses pertinent to petitioner’s claim

are likely to be found.” Id. at 493-94.

        As noted above, Petitioner is serving a Georgia sentence in a federal prison in

Colorado pursuant to a contractual agreement between the Georgia Department of

Corrections and the Federal Bureau of Prisons. (See ECF No. 1 at 4.) He names as

respondents the warden of the federal prison in which he is incarcerated, the Attorney

General of the State of Georgia, and the Commissioner of the Georgia Department of

Corrections. According to Petitioner, “the Georgia Department of Corrections retains

control over [Petitioner’s] custody.” (ECF No. 1 at 5.)

        Petitioner asserts that jurisdiction and venue are proper in the District of

Colorado pursuant to § 2241(d). In relevant part, that statute provides as follows:

                       Where an application for a writ of habeas corpus is
               made by a person in custody under the judgement and
               sentence of a State court of a State which contains two or
               more Federal judicial districts, the application may be filed in
               the district court for the district wherein such person is in
               custody or in the district court for the district within which the
               State court was held which convicted and sentenced him
               and each of such district courts shall have concurrent
               jurisdiction to entertain the application.

28 U.S.C. § 2241(d). In Braden, the Supreme Court interpreted this language to mean

that:

               a prisoner contesting a conviction and sentence of a state
               court of a State which contains two or more federal judicial
               districts, who is confined in a district within the State other

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              than that in which the sentencing court is located, has the
              option of seeking habeas corpus either in the district where
              he is confined or the district where the sentencing court is
              located.

Braden, 410 U.S. at 497 (emphasis added).

       There is no question that the State of Georgia has more than two federal judicial

districts. See 28 U.S.C. § 90. However, as the Supreme Court explained in Braden,

the filing option authorized by § 2241(d) only arises when a prisoner, who is

incarcerated in the same state that imposed the conviction being challenged, is

incarcerated in a judicial district that does not include the sentencing court. These

circumstances are not present for Petitioner because he is not incarcerated in Georgia.

Therefore, the instant action is not properly filed in the District of Colorado based on the

language of § 2241(d).

       In cases decided prior to Padilla, lower courts relying on Braden “have held that

where a petitioner is housed in a state other than the state where he was convicted and

sentenced, the ‘true custodian’ is the official in the state whose indictment or conviction

is being challenged.” Holder v. Curley, 749 F. Supp.2d 644, 645-46 (E.D. Mich. 2010).

Furthermore, “[d]espite the broad language in Padilla, district courts have continued to

hold that a case properly is transferred to the jurisdiction of conviction when the

petitioner is housed in another state only for the convenience of and pursuant to a

contractual relationship with the state wherein the conviction was rendered.” Id. at 646.

       As noted above, Petitioner is incarcerated in a federal prison in Colorado

pursuant to a contractual agreement between the Georgia Department of Corrections

and the Federal Bureau of Prisons. Furthermore, Petitioner specifically asserts that “the


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Georgia Department of Corrections retains control over [Petitioner’s] custody.” (ECF

No. 1 at 5.) As a result, it appears that the warden of the federal prison in Colorado in

which Petitioner is confined does not “exercise[] legal control with respect to the

challenged ‘custody.’” Padilla, 542 U.S. at 438. Under these circumstances, the Court

finds that the Georgia Department of Corrections is Petitioner’s “true custodian.” See

Holder, 749 F. Supp.2d at 647.

       For all of these reasons, the Court finds that it is appropriate and in the interest of

justice to transfer this action to a federal district court in Georgia. Because Petitioner is

challenging a conviction entered in the Fulton County Superior Court, the instant action

will be transferred to the United States District Court for the Northern District of Georgia,

Atlanta Division. See 28 U.S.C. § 90(a)(2). Accordingly, it is

       ORDERED that the clerk of the Court transfer this action to the United States

District Court for the Northern District of Georgia, Atlanta Division.

       DATED at Denver, Colorado, this       15th    day of     May             , 2012.

                                                    BY THE COURT:



                                                      s/’Lewis T. Babcock
                                                    LEWIS T. BABCOCK, Senior Judge
                                                    United States District Court




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